111 F.3d 126
    Frederick Evansv.Martin Horn, Joseph Lehman, Laurence Reid, Jeffrey Beard,Margaret Moore, Terry Henry, Robert S. Bitner, J. HarveyBell, Joseph Mazurkiewicz, Sam Mazzotta, Robert W. Meyers,Lynn Eaton, Bill Carver, Dave Young, Stuart E. Boone
    NO. 96-7576
    United States Court of Appeals,Third Circuit.
    Mar 28, 1997
    
      Appeal From:  M.D.Pa. ,No.9601394 ,
      Caldwell, J.
    
    
      1
      Affirmed.
    
    